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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

DORA L. ADKINS,                     )
                                    )
                  Plaintiff,        )
                                    )
            v.                      )
                                    )
                                    )                Case No. Not Assigned
DRIFTWOOD SPEICAL SERVICING,        )
LLC CORPORATION SERVICE             )
COMPANY,                            )
                                    )
                  Defendant.        )
____________________________________)

                                    PRE-FILING ORDER

       This matter is before the Court on Plaintiff’s Motion for Leave from the Court to File an

Emergency Complaint (the “Motion”). On October 1, 2021, this Court entered a Pre-Filing

Injunction Order against Ms. Adkins in a separate case, Adkins v. Hyatt Corp., 1:20-cv-1410-

AJT-MSN, based on Ms. Adkins’s “extensive history of filing unsubstantiated lawsuits for the

alleged injuries connected to food or chemical poisoning.” [Doc. No. 41] at 4. The Order also

enjoined Ms. Adkins from filing any complaints in this court without pre-filing leave of this

Court. Id.

       In the present Complaint, attached to her Motion, Plaintiff alleges “an attempted

premeditated murder of the Plaintiff by the Defendant” during her stay at the Defendant’s Westin

Tysons Corner hotel, located in Alexandria, Virginia, by way of “septic poisoning from a broken

toilet inside [a] guest room,” and is asking for $600,000,000 in compensatory and punitive

damages.
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        The Court has reviewed the Complaint and Motion and finds Ms. Adkins’s Complaint

does not plausibly allege a cognizable claim and that leave of the Court is not warranted. For

that reason, it is

        ORDERED that Plaintiff’s Motion for Leave from the Court to File an Emergency

Complaint be, and the same hereby is, DENIED.

        The Clerk is directed to mail a copy of the complaint to Plaintiff at the address listed on

the Motion and Complaint.




Alexandria, Virginia
January 6, 2022
